 8:08-cr-00119-LES-TDT    Doc # 33   Filed: 06/16/08    Page 1 of 2 - Page ID # 50



           IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:08CR119
                              )
          v.                  )
                              )
SHEILA NOWLAND and BOE WOOD, )                         ORDER
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on the motions to

continue (Filing Nos. 25 and 31).          Subject to the filing of a

written waiver of speedy trial, the Court finds said motions

should be granted.       Accordingly,

           IT IS ORDERED that the motions to continue are granted

on the condition that defendants file a written waiver of speedy

trial.   Trial is scheduled for:

                Monday, July 21, 2008, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   In order to accommodate the Court’s schedule and to give

counsel time to pursue plea negotiations or prepare for trial,

the ends of justice will be served by continuing this case and

outweigh the interests of the public and the defendant in a

speedy trial.   The additional time between June 16, 2008, and

July 21, 2008, shall be deemed excludable time in any computation
 8:08-cr-00119-LES-TDT   Doc # 33   Filed: 06/16/08   Page 2 of 2 - Page ID # 51



of time under the requirement of the Speedy Trial Act.               18 U.S.C.

§ 3161(h)(8)(A) & (B).

           DATED this 16th day of June, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




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